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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN


 Kurt Rillema, an individual,
                                                          Case No. 2:23-cv-12042
        Petitioner,                                       JUDGE HON. Johnathan J.C. Grey

 v.


 Beau Harvey, an individual,



        Respondent


                      Motion To Strike Petitioner’s Response ECF No. 55
______________________________________________________________________________________

Now comes the Respondent and moves this Court for an Order Striking Petitioner’s

untimely responses to Respondent’s Motions and Applications specifically ECF numbers

37, 38, 39, 43, 53, and 54. None of the responses are within the F. Civ R. or local rules.

Petitioner in violation of this Court’s local rules requiring responses to be filed separately,

and timely.



There is simply no justification to accept one response to six well drafted motions and

applications. Further it defies both the Fed. R. Civ.P, as well as the local rules as required

by the text in local rule 7.1 and 5.1.



This attempt to circumvent the rules for responses that are over 45 days past deadline is


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a clear attempt to get away with violating the rules and thus should be considered an abuse

of process.



To be clear, opposing counsel had no problem misrepresenting material facts to this Court

to gain an advantage in litigation. Here are a some of the more egregious acts:



   • In his initial appearance to the suit originally filed on Northern District of Ohio,

      Rillema admitted to the membership interest and that Harvey was on the Bank

      Account;

   • Rillema next stated that he has not spent one cent of the money that was due for

      distribution to Harvey from 2019-2023;

   • Weaver and Johnson stated that it would be more efficient to dismiss the case under

      12(b)(6) so that the parties could file arbitration with AAA. Further stating that

      transferring the case would only delay the matter.

          o Not to be outdone, Weaver and Johnson then violated the Michigan

              Uniform Arbitration Act that required that the parties arbitrate in the chosen

              forum and pursuant to the rules of AAA that requires a filing with AAA.

          o Further, Weaver, Johnson, and Kara Turdzag knew full well that the State

              of Michigan procedural rules applied.

          o By willfully abusing the MUAA and the Arbitrator failing to follow the

              statutory requirements, all three counsel violated the rules of ethics and have

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           materially misrepresented this matter to this Court under false pretenses,

  • The MUAA requires that notice of Arbitration be provided pursuant to the parties

     arbitration agreement. Counsel and the Arbitrator knew this and willfully violated

     the Michigan Uniform Arbitration Act.

  • The Arbitrator is a former partner at Plunket Cooney. She was not acting in an

     official capacity and therefore has no immunity.

  • There was no arbitration notice as required and thus there simply can’t be anything

     to compel.

  • In spite of the clear abuse of process and outlandish lies and misrepresentations,

     this Court was duped when Weaver and Johnson filed a Verified Complaint to

     Compel Arbitration ECF 2-5 page 257-263

  • This filing suborned perjury and was plain perjury by Mike Weaver who verified

     the Complaint. To be clear, Weaver states in his application that Harvey is not a

     member and has a requirement to contribute capital and he cites the Arbitration

     Agreement ECF 2-2 at paragraph 5 and then claims this is what paragraph 5 states:




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Nothing could be further from the truth. Perjury does require Respondent to prove that

one statement is in fact true, but rather that since Weaver provided a Verified Complaint,

and then his client provides a SWORN STATEMENT, Respondent need only show the

two items proffered are contradictions. This is a colossal issue for RILLEMA. His own

council has just created a monumental Constitutional dilemma that a jury will get to take

into consideration. Perhaps Greed should have given way to the truth.




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Either way, the actual paragraph 5 in the Operating Agreement states as follows:




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 As a plain textual reading of the Member Capital Contributions states, as a condition

 precedent, once signed, no further contributions are required. Yet, somehow, Weaver and

 Johnson along with admissions of Rillema have all but sealed the fate for Rillema. All

 from GREED. Weaver and Johnson should be forever barred.



 In addition, there was never an application to compel pursuant to FAA §4. Therefore,

 there could not have      been a requirement to arbitrate.



Simply put, there was no Application to Compel Arbitration pursuant to Section 2,3, or 4.

 Instead, either by

ignorance or willfully taking advantage of this Court, Weaver and Johnson filed an

Application to Appoint an Arbitrator. This too violates the agreement between the parties

and this Court simply lacked the authority to alter the operating agreement or state law.



Counsel for Rillema failed to respond pursuant to the local rules timely and failed to follow

the local rules relating to format or numerosity.



 LR 7.1

 (A) Responses to all motions, except those listed in subparagraph 2(A) below,

 must be filed within 14 days after service of the motion.


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Counsel simply has failed to address any of the substance of the motions. Respondent is

simply following the rules this Court has provided. Further, this Court is bound by the

principal of Stare Decisis.



Stare Decisis is . . . a ‘principle of policy.’ When considering whether to reexamine a prior

erroneous holding, we must balance the importance of having constitutional

questions decided against the importance of having them decided right. (citing Helvering v.

Hallock, 309 U.S. 106, 119 (1940))



This Court is bound procedurally to determine whether there is waiver to arbitrate and if they find

waiver from relinquishing a known contractual right and proceeding in a position not consistent with

that right, then the party has waived their right to arbitrate.




That will be detrimental to Rillema’s case because this Court has already made findings that:

    1) It did not have jurisdiction over the Company;

    2) This Court does not have jurisdiction over the Property owned and operated by Harvey;

    3) That 522 Reynolds, LLC is NOT a party to arbitration;

    4) That this Court did not continue a temporary injunction past September 11, 2023.

This Court should recognize the significance of the illegally obtained and fraudulent misrepresentations

that influenced this Court exercising jurisdiction over Harvey and his property. Doesn’t that exercise
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of jurisdiction that place Harvey in jail result in this Court not having diversity? Doesn’t that mean this

matter should have been dismissed at the inception? If the Court disagrees with this analysis under what

authority can the Court exercise control over Harvey and his property without violating his civil rights?




Wherefore, the Respondent prays as follows:

This Court owes a duty to correct the financial takings that it Ordered upon Harvey and therefore

Harvey respectfully demands an immediate turnover of all funds collected through the Petitioner’s ill-

gotten sham;

An ORDER in support of Harvey and his business interest to provide that this Court has no legal

jurisdiction over 550 S. Reynolds Road, Toledo, Ohio;

An Order Striking Petitioner’s Response known as ECF #55;

An Order for any just and further relief that this Court deems just and proper including but not limited

to a referral to the Chief Justice for sanctions, a referral to the State Bar Association for the clear ethics

violations; and a referral to the United States Department of Justice for further investigation relating to

the outrageous conduct of counsel, their sham pleadings, and their fraudulent and outright lies to this

Court;

For investigation into the damaged caused by an officer of the Court manipulating the Electronic Filing

System that caused Civil Rights of this Respondent to be damaged. To be clear, the manipulation

caused incorrect legal notices and affected rulings from this Court. Specifically, Weaver and Johnson

caused Respondent to receive incorrect legal notices with incorrect response requirements as seen here

relating to the Motion To Compel #2




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This Court would later rule that Respondent did not file a response to the Notice. However, there was

a response and Weaver and Johnson manipulated the ECF System to pull off a fraud on the Court and

the Respondent.




For the aforementioned reasons, Respondent moves this Court to disqualify counsel for Rillema, and

for the aforementioned relief requested.

Respectfully submitted,


By: /s/ Beau Harvey
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                                       CERTIFICATION


 I, Beau Harvey, hereby certify that on August 27, 2024 a copy of this Motion was filed
 electronically. Notice will be sent to all parties who have appeared electronically or to their
 counsel.




Respectfully submitted,



/s/ Beau Harvey
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